Case 1:05-cr-10044-.]DT Document 8 Filed 07/22/05 Page 1 of 2 Page|D 9

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wEsTERN DISTRICT oF TENNESSEE
Eastern Division 05 JUl. 22 PH ll= 29
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uNiTED sTATEs 0F AMERICA ’~' » U-~ - llll‘*; v
\WD Ol: iit aé£l"SUN
-vs- Case No. 1:05cr10044-001T

MICHAEL ROGERS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT

Upon motion of the Governrnent, it is ORDERED that a detention hearing is set for
TUESDAY, JULY 26, 2005 at 2:45 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom No. 2, Fourth Floor, United States Courthouse and Federal Building, l l l
South Highland, Jackson, TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

‘lt` not held immediately upon defendants first appearance, the hearing may be continued for up to three days upon
motion oi`the government or up to five days upon motion of the defendant 18 U.S.C. § 3142(1)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(£) are present Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the government subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial oft`icer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective Witness or juror.

AO 470 (BIBE) Order of Temporary Detention

Th|s document entered on the docket sheet l compliance
with ama ss and/or azcb) mch on _Q./.EL\LQS__

ENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10044 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

